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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JUAN CHENG, ET AL.,
Plaintiffs, 21-cv-6682 (JGK)

- against - ORDER

 

ZHANG MEDICAL P.C., ET AL.,
Defendants.

 

JOHN G. KOELTL, District Judge:

The parties are directed to submit a Rule 26(f) report by
November i, 2021.
SO ORDERED.

Dated: New York, New York
November 1, 2021

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Johh G. Koeltl
United States District Judge

 
